Case 2:04-cv-02852-BBD-dkv Document 25 Filed 06/07/05 Page 1 of 5 Page|D 29

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IN THE UNITED sTATEs DISTRICT CoURr ” ma
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUH - 7 p
WESTERN DIVISION H 3‘ 5 l
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guise §T:§‘S ‘ § §"‘GY
JEFFERsoN D. GILDER, individually and on ' ' OF 'f`\' t Etfrf'urs
behalf of the heirs of ROBERT G. GILDER;
Plaiiiiiff,
VS.
No. 2:04-cv-2852-D
vENCOR NURSING cENTERs

LIMITED PARTNERSHIP, k/n/a KINDRED
NURSING CENTERS LIMITED PARTNERSHIP,
d/b/a Cordova Rehabilitation & Nursing Center;

Defendant.
ORDER

Upon Motion of Defendant, Vencor Nursing Centers Limited Partnership, k/n/a Kindred
Nursing Centers Limited Partnership, d/b/a Cordova Rehabilitation & Nursing Center, to set
aside the Scheduling Order and to set a new scheduling conference, and for good cause shown,,
it is hereby:

ORDERED that the Scheduling Order (Docket entry 4) is set aside, and the parties shall

appear before the Court for a new scheduling conference on M 3 0 , 2005, at

 

2 »' 00 Q. M. -Out of town counsel may participate by telephone, upon written request

 

 

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Submitted by:

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CERTIFICATE OF SERVICE

l hereby certify that a true copy of the foregoing has been served upon counsel for
plaintiff by U.S. Mail, postage prepaid, addressed as follows:

this 2“d day ofJune, 2005.

08452_00/0415/sLo-000395_1

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 25 in
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Honorable Bernice Donald
US DISTRICT COURT

